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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        GEORGE ENGURASOFF, et al.,
                                   7                                                         Case No. 14-md-02555-JSW (MEJ)
                                                       Plaintiffs,
                                   8                                                         DISCOVERY ORDER
                                                v.
                                   9                                                         Re: Dkt. No. 146
                                        COCA-COLA REFRESHMENTS USA,
                                  10    INC., et al.,
                                  11                   Defendants.

                                  12                                            INTRODUCTION
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                                  13          Defendant Coca-Cola has redacted information from email communications with third
                                  14   parties on the ground the information contains legal advice and is protected from disclosure. See
                                  15   Jt. Ltr. Br., Dkt. No. 146. Plaintiffs seek to compel Defendant to produce that information,
                                  16   arguing any privilege was waived when Coca-Cola disclosed the communications to third parties.
                                  17   Id. The undersigned previously ordered the parties to provide additional information in support of
                                  18   their positions (Order, Dkt. No. 147), which they supplied (Pls.’ Suppl. Br., Dkt. No. 148; Kahn
                                  19   Decl., Dkt. No. 149; Ringer Decl., Dkt. No. 150; Ross Decl., Dkt. No. 151).
                                  20          Having considered the parties’ positions, the relevant legal authority, and the record in this
                                  21   case, the Court issues the following order.
                                  22                                          LEGAL STANDARD
                                  23          Federal Rule of Civil Procedure 26 provides that a party may obtain discovery “regarding
                                  24   any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the
                                  25   needs of the case[.]” Fed. R. Civ. P. 26(b)(1). Factors to consider include “the importance of the
                                  26   issues at stake in the action, the amount in controversy, the parties’ relative access to relevant
                                  27   information, the parties’ resources, the importance of the discovery in resolving the issues, and
                                  28   whether the burden or expense of the proposed discovery outweighs its likely benefit.” Id.
                                   1   Discovery need not be admissible in evidence to be discoverable. Id. However, “[t]he parties and

                                   2   the court have a collective responsibility to consider the proportionality of all discovery and

                                   3   consider it in resolving discovery disputes.” Fed. R. Civ. P. 26 advisory committee notes (2015

                                   4   amendments). Thus, there is “a shared responsibility on all the parties to consider the factors

                                   5   bearing on proportionality before propounding discovery requests, issuing responses and

                                   6   objections, or raising discovery disputes before the courts.” Salazar v. McDonald’s Corp., 2016

                                   7   WL 736213, at *2 (N.D. Cal. Feb. 25, 2016); Goes Int’l, AB v. Dodur Ltd., 2016 WL 427369, at

                                   8   *4 (N.D. Cal. Feb. 4, 2016) (citing advisory committee notes for proposition that parties share a

                                   9   “collective responsibility” to consider proportionality and requiring that “[b]oth parties . . . tailor

                                  10   their efforts to the needs of th[e] case”).

                                  11                                                 DISCUSSION

                                  12           Defendant’s attorneys redacted information from 35 pages of documents on the ground the
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                                  13   redacted information contains legal advice communicated between Coca-Cola counsel and certain

                                  14   third parties: CMA Design, Turner Duckworth, Christopher Weston, Schawk, Finished Art, and

                                  15   Cornerstone. See Jt. Ltr. Br., Ex. 1.1

                                  16           Coca-Cola utilizes CMA Design, Turner Duckworth, and Christopher Weston to develop

                                  17   label designs. Kahn Decl. ¶¶ 4-5. It also utilizes Schawk and Finished Art to adapt label designs

                                  18   into final product labels and generate final label proofs. Id. ¶¶ 6-7. “Label content is subject to

                                  19   the approval of Coca-Cola’s counsel. Accordingly, the Coca-Cola Legal Department provides

                                  20   input at multiple stages” of the label design and production process. Id. ¶ 8. Coca-Cola attorneys

                                  21   may communicate legal advice regarding the labels to these third parties. Id. ¶ 9. Coca-Cola

                                  22   attorneys also may communicate legal advice to Cornerstone regarding licensing of music for

                                  23   commercials. Ringer Decl. ¶ 5.

                                  24           Coca-Cola Design Director, Frederic Kahn, submitted a declaration describing Coca-

                                  25   Cola’s use of outside agencies and the communication of legal advice to those outside agencies.

                                  26   See Kahn Decl. He also reviewed the disputed email chains, and confirmed that the redacted

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                                  28    The redactions appear to have been applied to 10 discrete communications, which Coca-Cola
                                       produced as part of multiple email chains. See Kahn Decl.
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                                   1   information constituted communications between Coca-Cola’s counsel and the third party that was

                                   2   reasonably necessary to ensure counsel’s recommendations could be reflected in the label design

                                   3   or proof. See id. ¶¶ 10, 12-13, 15-17, 19, 21-22. In each instance, Kahn identified the individual

                                   4   who sought or received advice from Coca-Cola counsel, confirmed that he forwarded such advice

                                   5   to the third party or that counsel communicated directly with the third party, and described the

                                   6   general topic of the advice. See id. Louis Ross, Coca-Cola Senior Packaging Graphics Manager,

                                   7   provided the same information for one of the email chains. See Ross Decl. ¶ 5. Stella Ringer,

                                   8   Coca-Cola Senior Manager of Entertainment Marketing, provided the same information for the

                                   9   final email chain. Ringer Decl. ¶ 5.

                                  10          California Evidence Code section 9522 includes in its definition of “confidential

                                  11   communication between client and lawyer” information that is

                                  12                  transmitted between a client and his or her lawyer in the course of
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                                                      that relationship and in confidence by a means which, so far as the
                                  13                  client is aware, discloses the information to no third persons other
                                                      than those who are present to further the interest of the client in the
                                  14                  consultation or those to whom disclosure is reasonably necessary for
                                                      the transmission of the information or the accomplishment of the
                                  15                  purpose for which the lawyer is consulted, and includes a legal
                                                      opinion formed and the advice given by the lawyer in the course of
                                  16                  that relationship.
                                  17   Coca-Cola argues the redacted information at issue is protected from disclosure because it

                                  18   constitutes legal advice disclosed to third parties to whom disclosure was reasonably necessary to

                                  19   accomplish the purpose of the legal advice, i.e., to ensure the final labels created and produced by

                                  20   the third parties reflected the legal advice provided. See Jt. Ltr. Br.

                                  21          Kahn, Ross, and Ringer provide information, based on their personal knowledge, that

                                  22   supports Coca-Cola’s assertion of the privilege with respect to each of the documents in dispute.

                                  23   The declarants confirm each redaction contains legal advice that was requested by and/or

                                  24   transmitted to a third party that was reasonably necessary to ensuring the legal advice would be

                                  25   reflected in the label designs or proofs, or in music licensing decisions. Coca-Cola has met its

                                  26   burden of demonstrating the third party agencies “needed to know” the legal advice in order to

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                                  28    Defendant argues, and Plaintiffs do not substantively dispute, that California law applies to
                                       privilege determinations in this matter. See Jt. Ltr. Br. at 1 n.2, 3 n.6.
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                                   1   accomplish the purpose for which Coca-Cola hired them; as such, there was no waiver of the

                                   2   attorney client privilege based on the disclosure to these third parties. See Insurance Co. of N. Am.

                                   3   v. Superior Court, 108 Cal. App. 3d 758, 765-66 (1980) (“If the client discloses attorney-client

                                   4   communications to unnecessary third parties, he manifests an intent to waive confidentiality.

                                   5   [Cite.] The key concept here is need to know. While involvement of an unnecessary third person

                                   6   in attorney-client communications destroys confidentiality, involvement of third persons to whom

                                   7   disclosure is reasonably necessary to further the purpose of the legal consultation preserves

                                   8   confidentiality of communication.” (internal citations omitted; emphases in original)). Coca-Cola

                                   9   has met its burden of demonstrating the redacted information is privileged, and is not discoverable

                                  10   under Rule 26(b)(1). See QST Energy, Inc. v. Mervyn’s, 2001 WL 777489, at *2 (N.D. Cal. May

                                  11   14, 2001) (describing burden-shifting test to establish privilege under California law, and finding

                                  12   privileged not waived by disclosures to third parties because log established these disclosures
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                                  13   “were reasonably necessary to accomplish the purpose for which Defendants’ counsel was

                                  14   consulted, they did not waive the privilege.”)

                                  15          In light of this finding, the undersigned does not reach Defendant’s timeliness argument.

                                  16                                            CONCLUSION

                                  17          Plaintiffs’ request to compel the production of the redacted information is denied.

                                  18          IT IS SO ORDERED.

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                                  20   Dated: May 3, 2017

                                  21                                                    ______________________________________
                                                                                        MARIA-ELENA JAMES
                                  22                                                    United States Magistrate Judge
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